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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF LOUISIANA

 U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION,                     CIVIL ACTION
     PLAINTIFF,                                                    NO. 21-01665

 v.                                                                JURY DEMAND

 BOURNE’S HOUSE, LLC, D/B/A BOURNE’S HOUSE
 RESTAURANT,
     DEFENDANT.


                                     COMPLAINT

                                NATURE OF THE ACTION

      This is an action under Title VII of the Civil Rights Act of 1964 and Title I of

the Civil Rights Act of 1991 to correct unlawful employment practices on the basis

of sex (pregnancy) and to provide appropriate relief to Lauren Gerald (“Ms.

Gerald”). As alleged with greater particularity below, the defendant, Bourne’s

House, LLC (“Bourne’s House”), doing business as Bourne’s House Restaurant,

discharged Ms. Gerald because of her sex (pregnancy) and refused to rehire her

because of her sex (pregnancy).

                                JURISDICTION & VENUE

      1.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 451,

§ 1331, § 1337, § 1343, and § 1345. This action is authorized and instituted

pursuant to Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C. § 2000e-

5(f)(1) and (3) and pursuant to Title I of the Civil Rights Act of 1991, 42 U.S.C.

§ 1981a.




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      2.     The employment practices alleged to be unlawful were committed in

the State of Louisiana and, therefore, within the jurisdiction and venue of the

United States District Court for the Eastern District of Louisiana pursuant to Title

VII, 42 U.S.C. § 2000e-5(f)(3).

                                       PARTIES

      3.     Plaintiff, the U.S. Equal Employment Opportunity Commission (the

“Commission”), is the agency of the United States of America charged with the

administration, interpretation, and enforcement of Title VII and is expressly

authorized to bring this action by Title VII, 42 U.S.C. § 2000e-5(f)(1).

      4.     At all relevant times, Bourne’s House has continuously been a limited

liability company doing business in the State of Louisiana and has continuously had

at least 15 employees.

      5.     At all relevant times, Bourne’s House has continuously been an

employer engaged in an industry affecting commerce under Title VII, 42

U.S.C.§ 2000e(b), (g), and (h).

                            ADMINISTRATIVE PROCEDURES

      6.     More than 30 days prior to the institution of this action, Ms. Gerald

filed a charge of discrimination (“charge”) with the Commission alleging violations

of Title VII by Bourne’s House.

      7.     On or about November 16, 2020, the Commission issued to Bourne’s

House a letter of determination finding reasonable cause to believe that Bourne’s

House violated Title VII and inviting Bourne’s House to join with the Commission



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in informal methods of conciliation to endeavor to eliminate the unlawful

employment practices and provide appropriate relief.

       8.    The Commission engaged in communications with Bourne’s House to

provide Bourne’s House the opportunity to remedy the discriminatory practices

described in the letter of determination.

       9.    On or about December 14, 2020, the Commission issued to Bourne’s

House a Notice of Failure of Conciliation advising Bourne’s House that the

Commission was unable to secure from Bourne’s House a conciliation agreement

acceptable to the Commission.

       10.   All conditions precedent to the institution of this action have been

fulfilled.

                                STATEMENT OF CLAIMS

       11.   Since at least April 18, 2019, Bourne’s House has engaged in unlawful

employment practices in violation of Title VII, 42 U.S.C. § 2000e-2(a).

             A.     Bourne’s House is a restaurant.

             B.     On April 18, 2019, Ms. Gerald applied in person for a position at

       Bourne’s House.

             C.     Suzi Kennedy Bourne (“Ms. Bourne”), a manager at Bourne’s

       House, met with Ms. Gerald.

             D.     Ms. Bourne hired Ms. Gerald for a hostess position.

             E.     Ms. Bourne told Ms. Gerald to report for work on April 19, 2019.




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      F.      After Ms. Gerald left, Ms. Bourne learned that Ms. Gerald was

pregnant.

      G.      On April 18, 2019, at 8:25 PM, Ms. Bourne sent Ms. Gerald a

Facebook message stating: “Hey, I'm sorry to tell you this, but I'm not gonna

be able to hire you. I didn't realize that you were expecting a baby. I'm afraid

by the time I get you trained good, you'll have to be off to be a mom. I'm

sorry.” Ms. Gerald did not see the message at that time.

      H.      On April 19, 2019, Ms. Gerald reported to work.

      I.      Ms. Bourne asked Ms. Gerald if she had seen her Facebook

message, and Ms. Gerald stated that she had not.

      J.      Ms. Bourne told Ms. Gerald that the position was not suitable

for Ms. Gerald because she was pregnant.

      K.      Ms. Bourne discharged Ms. Gerald.

      L.      Ms. Bourne told Ms. Gerald that she should re-apply after she

gave birth.

      M.      Ms. Gerald was pregnant on April 19, 2019.

      N.      On August 23, 2019, Ms. Gerald again applied in person for a

position at Bourne’s House.

      O.      Someone at Bourne’s House, but not Ms. Gerald, added the word

“pregnant” to Ms. Gerald’s application after Ms. Gerald submitted it to

Bourne’s House.

      P.      Bourne’s House did not rehire Ms. Gerald.



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               Q.    Ms. Gerald was pregnant on August 23, 2019.

      12.      The effect of Bourne’s House’s unlawful employment practices

complained of above has been to deprive Ms. Gerald of equal employment

opportunities and otherwise adversely affect her status as an applicant or employee

because of her sex (pregnancy) in violation of Title VII.

      13.      The unlawful employment practices complained of above were

intentional.

      14.      Bourne’s House acted with malice and/or reckless indifference to the

federally protected rights of Ms. Gerald when it engaged in the unlawful

employment practices complained of above.

                                  PRAYER FOR RELIEF

      Wherefore, the Commission respectfully requests that this Court:

               A.    Grant a permanent injunction enjoining Bourne’s House its

     officers, agents, servants, employees, attorneys, and all persons in active

     concert or participation with it, from discriminating against its applicants or

     employees on the basis of sex (pregnancy).

               B.    Order Bourne’s House to institute and carry out policies,

      practices, and programs that provide equal employment opportunities for

      pregnant women and that eradicate the effects of its past and present

      unlawful employment practices.

               C.    Order Bourne’s House to make whole Ms. Gerald, by providing

      appropriate backpay with prejudgment interest, in amounts to be determined



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      at trial, and other affirmative relief necessary to eradicate the effects of its

      unlawful employment practices, including but not limited to reinstatement

      and/or front pay.

               D.   Order Bourne’s House to post and keep posted the notices

      required by Title VII, 42 U.S.C. § 2000e-10(a).

               E.   Order Bourne’s House to make and preserve all records relevant

      to the determination of whether unlawful employment practices have been or

      are being committed, in accordance with Title VII, 42 U.S.C. § 2000e-8(c).

               F.   Order Bourne’s House to make whole Ms. Gerald by providing

      compensation for past and future pecuniary losses resulting from the

      unlawful employment practices described above, including job-search and

      medical expenses, in amounts to be determined at trial.

               G.   Order Bourne’s House to pay punitive damages for its malicious

      and/or reckless conduct, as described above, in amounts to be determined at

      trial.

               H.   Grant such further relief as the Court deems necessary and

      proper in the public interest.

               I.   Award the Commission its costs of this action.

                                 JURY TRIAL DEMAND

      The Commission requests a jury trial on all questions of fact raised by this

Complaint that are triable to a jury.




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                                  Respectfully submitted,

                                  Rudy L. Sustaita
                                  Regional Attorney
                                  U.S. Equal Employment Opportunity
                                  Commission
                                  Houston District Office
                                  1919 Smith Street, 7th Floor
                                  Houston, Texas 77002
                                  Phone: (713) 651-4970
                                  Fax: (713) 651-4995
                                  Texas Bar No. 19523560

                                  Gregory T. Juge
                                  Supervisory Trial Attorney
                                  U.S. Equal Employment Opportunity
                                  Commission
                                  New Orleans Field Office
                                  Hale Boggs Federal Building
                                  500 Poydras Street, Suite 809
                                  New Orleans, LA 70130
                                  Phone: (504) 676-8239
                                  Fax: (504) 595-2886
                                  Louisiana Bar No. 20890

                                  /s/ Andrew B. Kingsley
                                  Andrew B. Kingsley (Lead)
                                  Trial Attorney
                                  U.S. Equal Employment Opportunity
                                  Commission
                                  New Orleans Field Office
                                  Hale Boggs Federal Building
                                  500 Poydras Street, Suite 809
                                  New Orleans, LA 70130
                                  Phone: (504) 208-8661
                                  Fax: (504) 595-2886
                                  Louisiana Bar No. 35865

                                  COUNSEL FOR U.S. EQUAL
                                  EMPLOYMENT OPPORTUNITY
                                  COMMISSION




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           REGISTERED AGENT FOR SERVICE OF PROCESS:


           Reginald Bourne
           o/b/o Bourne’s House, LLC
           26270 Hwy 62
           Franklinton, La 70438




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